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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                 )      CASE NO. 1:09CR510
                                          )
              PLAINTIFF,                  )      JUDGE PETER C. ECONOMUS
                                          )
        V.                                )
                                          )
VITALY FEDORCHUK,                         )      MEMORANDUM OPINION
PAVLO MOSTRANSKYY,                        )      AND ORDER
JAROSLAV WLADYKA,                         )
                                          )
              DEFENDANTS.                 )


        This matter is before the Court upon Magistrate Judge Kenneth S. McHargh’s

Reports and Recommendations that the Court accept Defendants Vitaly Fedorchuk,

Pavlo Mostranskyy, and Jaroslav Wladyka’s (“the Defendants”) pleas of guilty and

enter findings of guilty against the Defendants. (Dkt. # 156, 189, 194).

        On November 23, 2009, the Government filed an Indictment against the

Defendants. (Dkt. # 12). On April 13, 2010, the Government filed a Supplemental

Information as to Jaroslav Wladyka. (Dkt. # 141). On May 19, 2010, the

Government filed a Supplemental Information as to Pavlo Mostranskyy. (Dkt. #

191).

        On April 5, April 7, and May 4, 2010, this Court issued orders assigning this

case to Magistrate Judge McHargh for the purposes of arraignment and receiving the

guilty pleas of Defendants Jaroslav Wladyka, Pavlo Mostranskyy, and Vitaly
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Fedorchuk, respectively. (Dkt. # 128, 131, 171).

       On April 14, a hearing was held in which Jaroslav Wladyka entered a plea of

guilty to Count Twenty Four of the Supplemental Information, possession of false

identification documents, in violation of 18 § U.S.C. 1028(A)(6)&(b)(6).

       On May 17, 2010, a hearing was held in which Vitaly Fedorchuk entered a

plea of guilty to Count One of the Indictment, conspiracy to unlawfully produce

identification documents and false identification documents, in violation of 18

U.S.C. § 1028(f), 18 U.S.C. § 1028(b)(1)(A)(ii), and 18 U.S.C. § 1028(b)(1)(B).

       On May 20, 2010, a hearing was held in which Pavlo Mostranskyy entered a

plea of guilty to Count One of the Indictment; Count Twenty Three of the

Indictment, conspiracy to commit forgery and false use of a passport, in violation of 18

U.S.C. § 1543 18 U.S.C. § 371; Count Twenty Five of the Supplemental

Information, conspiracy to commit visa fraud, in violation of 18 U.S.C. § 1546(a)

and 18 U.S.C. § 371; and Count Twenty Six of the Supplemental Information,

money laundering, in violation of 18 U.S.C. § 1957.

       Magistrate Judge McHargh received the Defendants’ guilty pleas and issued

Reports and Recommendations (“R&R’s”) recommending that this Court accept the

Defendants’ pleas and enter findings of guilty. (Dkt. # 156, 189, 194). None of the

parties objected to Magistrate Judge McHargh’s R&R’s in the fourteen (14) days

following the issuance of each R&R.

       On de novo review of the record, Magistrate Judge McHargh’s R&R’s are
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adopted. (Dkt. # 156, 189, 194). The Defendants were each found to be competent

to enter a plea. The Defendants understood their constitutional rights. They were

aware of the consequences of entering a plea. There is an adequate factual basis for

the pleas. The Court finds that the pleas were entered knowingly, intelligently, and

voluntarily. The Defendants’ pleas of guilty are approved.

      Therefore, Vitaly Fedorchuk, is adjudged guilty of Count One of the

Indictment. Pavlo Mostranskyy is adjudged guilty of Counts One and Twenty Three

of the Indictment, and Counts Twenty Five and Twenty Six of the Supplemental

Information. Jaroslav Wladyka is adjudged guilty of Count Twenty Four of the

Supplemental Information.

      Sentencing hearings will be held for Jaroslav Wladyka on July 15, for Vitaly

Fedorchuk on August 19, 2010 at 10:00 a.m, and for Pavlo Mostranskyy on August

19, 2010 at 11:00 a.m.

      IT IS SO ORDERED.

                                  /s/ Peter C. Economus - July 2, 2010
                                  PETER C. ECONOMUS
                                  UNITED STATES DISTRICT JUDGE
